            Case 1:21-cv-03003-LRS                   ECF No. 20           filed 09/24/21    PageID.936 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                   for the_                                          FILED IN THE
                                                                                                                 U.S. DISTRICT COURT
                                                      Eastern District of Washington                       EASTERN DISTRICT OF WASHINGTON


                    RICHARD LEROY M.,                                                                          Sep 24, 2021
                                                                      )                                         SEAN F. MCAVOY, CLERK

                             Plaintiff                                )
                                v.                                    )        Civil Action No. 1:21-CV-03003-LRS-1
            KILOLO KIJAKAZI,                                          )
 ACTING COMMISSIONER OF SOCIAL SECURITY,                              )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                             dollars ($              ), which includes prejudgment
interest at the rate of                    %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment, ECF No. 13, is VACATED as moot.
’
              Defendant’s Stipulated Motion for Remand, ECF No. 18 is GRANTED. This case is REVERSED and REMANDED for
              further administrative proceedings pursuant to sentence four of 42 U.S.C. § 405(g).
              Judgment entered in favor of Plaintiff.


This action was (check one):
’ tried by a jury with Judge                                                                          presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                           without a jury and the above decision
was reached.

✔
’ decided by Judge                       LONNY R. SUKO                                          on a motion for
      for remand.


Date: 9/24/2021                                                               CLERK OF COURT

                                                                              SEAN F. McAVOY

                                                                              s/ Tonia Ramirez
                                                                                           (By) Deputy Clerk

                                                                              Tonia Ramirez
